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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,
                      Plaintiff,
                                                      Case No. 6:21CR10073
 Vs.

 MICHAEL R. CAPPS,
                                Defendant.

Pursuant to K.S.A. Chapter 59

         REQUEST FOR HEARING ON OBJECTION OF CHARLES CAPPS TO
                    GARNISHMENT OF ESCROW FUNDS

       COMES NOW, Plaintiff, Charles Capps, and requests oral argument on the Objection of

Charles Capps to the Garnishment of Escrow Funds from the Sale of Property.



Respectfully submitted:

KNOPP LAW GROUP P.A.

By: /s/ Ted E. Knopp
   Ted E. Knopp, SC #11437
   Attorney for Petitioner




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